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                                                                                   2023 Sep-29 PM 04:03
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION

OIC DREAMS GREENE COUNTY IV, )
INC.,                        )
                             )
      Plaintiff,             )
                             )
v.                           )                        Case No.: ________________
                             )
JONATHAN BENISON,            )
                             )
      Defendant.             )

                                   COMPLAINT

      COMES NOW Plaintiff OIC Dreams Greene County, IV, Inc. (“Plaintiff”),

and hereby files this Complaint against Defendant Sheriff Jonathan Benison

(“Defendant” or “Sheriff Benison”). In support of this Complaint, Plaintiff states as

follows:

                          JURISDICTION AND VENUE

      1.      This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331

because this is an action arising under the laws of the United States, specifically 42

U.S.C. § 1983. This Court has supplemental jurisdiction over Plaintiff’s state-law

claims pursuant to 28 U.S.C. 1367(a).

      2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 because

the Defendant resides in this district, Defendant is subject to personal jurisdiction in



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this district, and a substantial part of the events or omissions giving rise to Plaintiff’s

claims occurred in this district.

                                       PARTIES

      3.       Plaintiff is an Alabama non-profit corporation with its principal place

of business located in Greene County, Alabama.

      4.       Defendant Sheriff Jonathan Benison (“Defendant” or “Sheriff

Benison”) is a citizen and resident of Greene County, Alabama. Sheriff Benison is

also the Sheriff of Greene County, Alabama.

                             STATEMENT OF FACTS

      5.       In 2003, voters approved a constitutional amendment allowing

nonprofit organizations to operate bingo games in Greene County, Alabama. The

amendment is known as Constitutional Amendment 743 (“CA 743”). CA 743

charges the sheriff of the county with the duty of promulgating and enforcing rules

and regulations for the operation of bingo games in Greene County.                   More

specifically, CA 743 provides in pertinent part: “The sheriff shall promulgate rules

and regulations for the licensing, permitting, and operation of bingo games within

the county.”

       6.      In 2011, Sheriff Benison entered office and enacted Rules and

Regulations for the operation of bingo by non-profit organizations within Greene




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County. Over the years, the Rules and Regulations have been amended from time

to time.

      7.      Under the Rules and Regulations, Sheriff Benison charges applicants

wishing to conduct bingo in Greene County a license fee which is due upon an

applicant’s submission of its application.

      8.      In addition to charging a license fee, pursuant to the Rules and

Regulations, on a monthly basis, Sheriff Benison imposes multiple “assessments”,

colloquially known as “box fees,” against all license holders operating a bingo

facility in Greene County, regardless of the number of machines in operation at a

bingo facility. For example, in the September 2021 Rules and Regulations, said

“assessments” were calculated by multiplying 500 (representing the minimum

number of machines operating at a facility) by an arbitrary amount, such as $96.14.

Pursuant to the Rules and Regulations, the assessments are to be calculated and paid

by the bingo facility on the first day of each month to certain governmental entities

and/or charities that Sheriff Benison hand picks.

      9.      As of 2017, Plaintiff was licensed to operate a bingo hall for charity in

Greene County, Alabama. Plaintiff’s bingo license was issued by Sheriff Benison

pursuant to CA 743 and the then-applicable Rules and Regulations.

      10.     Shortly thereafter, Plaintiff opened the bingo facility known as Frontier

Charity Bingo (“Frontier”).


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      11.    As of today, Frontier remains in business and Plaintiff remains the

license holder for Frontier.

      12.    Since the time Frontier opened and continuing through today, Sheriff

Benison has assessed Plaintiff box fees, and up until just recently, said box fees have

been paid for the operation of Frontier. For example, see the October 3, 2022 letter

from Sheriff Benison to Plaintiff assessing box fees for Frontier for the month of

September 2022, attached hereto as Ex. 1.

      13.    More recently, Sheriff Benison’s letters to Plaintiff assessing box fees

have changed in that instead of using the box fees to pay certain governmental

entities and/or charities that Sheriff Benison hand picks, the entirety of the box fees

are to be paid to the Greene County Sheriff’s Department. See Sheriff Benison’s

June 29, 2023 letter to Plaintiff assessing box fees for the month of June 2023,

attached hereto as Ex. 2; Sheriff Benison’s August 28, 2023 letter to Plaintiff

assessing box fees for the month of August 2023, attached hereto as Ex. 3; Sheriff

Benison’s September 28, 2023 letter to Plaintiff assessing box fees for the month of

September 2023, attached hereto as Ex. 4. As set forth in these letters, the box fees

assessed on Frontier for just these three months, which were to be paid entirely to

the Greene County Sheriff’s Department, total $344,986.50.

      14.    In another letter from Sheriff Benison to one of the charitable

organizations that had been receiving a portion of box fees until recently, Sheriff


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Benison notified the charitable organization that the disbursements of part of the box

fees to charitable organizations would be suspended temporarily. According to the

letter, the alleged purpose of the entirety of the box fees now being paid to the Greene

County Sheriff’s Department was so that the Sheriff’s Department could use those

monies to pay its legal fees. See May 26, 2023 letter from Sheriff Benison to

R.E.A.C.H, Inc., attached hereto as Ex. 5.

      15.    According to Black’s Law Dictionary, “assessment” means the

“imposition of something such as a tax or fine, according to an established rate.”

      16.    Importantly, Sheriff Benison did not expressly receive the power to tax

or fine bingo facilities or the associated non-profit such as Plaintiff under CA 743.

Further, there is no other statutory or common law authority that allows or suggests

that Sheriff Benison has the authority to impose such assessments. Stated simply,

the box fees are nothing more than an illegal pay-to-play scheme.

      17.    As a result of Sheriff Benison’s wrongful conduct in imposing an

unlawful tax in the form of “assessments” against Plaintiff, Plaintiff’s due process

rights have been violated because Plaintiff’s property interests have been wrongfully

taken by Sheriff Benison.




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                                CAUSES OF ACTION

                             COUNT I- 42 U.S.C. § 1983

      18.    Plaintiff adopts and realleges all paragraphs of this Complaint set forth

above as if set out in full herein.

      19.    Sheriff Benison, at all times relevant to the events giving rise to this

action, was acting under the color of law as the Sheriff of Greene County, Alabama.

      20.    Sheriff Benison unlawfully deprived and took Plaintiff’s property

interests through the imposition of the aforementioned unlawful “assessments”

without due process of law, in violation of the Fourteenth Amendment to the

Constitution of the United States.

      21.    Sheriff Benison’s imposition of the outrageous and unreasonable

“assessments” on Plaintiff likewise violated the Eighth Amendment to the

Constitution of the United States.

      22.    As a result of Sheriff Benison’s wrongdoing described above,

Plaintiff’s rights under the Eighth and Fourteenth Amendments have been violated

and Plaintiff has suffered substantial damages.

                        COUNT II- INJUNCTIVE RELIEF

      23.    Plaintiff adopts and realleges all paragraphs of this Complaint set forth

above as if set out in full herein.




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      24.      Without injunctive relief, Plaintiff and other bingo facilities operating

in Greene County, Alabama will continue to suffer irreparable harm at the hands of

Sheriff Benison from the imposition of the unlawful tax in the form of

“assessments.”

      25.      Plaintiff has no adequate remedy at law.

      26.      Plaintiff has a reasonable chance of success on the ultimate merits of

this case.

      27.      The hardship imposed on Defendant by the injunction would not

unreasonably outweigh the benefit accruing to Plaintiff.

                   COUNT III- DECLARATORY JUDGMENT

      28.      Plaintiff adopts and realleges all paragraphs of this Complaint set forth

above as if set out in full herein.

      29.      A controversy exists between Plaintiff and Sheriff Benison relating to

whether the “assessments” imposed by Sheriff Benison are lawful or whether they

are an extreme abuse of authority and amount to an unauthorized tax.

                               PRAYER FOR RELIEF

      Wherefore, Plaintiff demands judgment against Sheriff Benison for the

following:

      A.       A judgment that the “assessments” imposed by Defendant are unlawful

and illegal;


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      B.      Compensatory damages;

      C.      Punitive damages in an amount determined by a jury;

      D.      Award of reasonable attorney’s fees;

      E.      Award Plaintiff costs and expenses;

      F.      Nominal damages, and

      G.      Injunctive relief enjoining Sheriff Benison and any future Sheriff of

Greene County from imposing the unlawful “assessments” against bingo facilities

in Greene County, Alabama.

      H.      Any additional relief deemed just and proper.

                                  JURY DEMAND

      Plaintiff requests a trial by jury on all issues so triable.



                                                Respectfully submitted,

                                                /s/Todd Campbell
                                                Counsel for Plaintiff

OF COUNSEL:

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PLAINTIFF REQUESTS THAT THE FOLLOWING DEFENDANT BE SERVED VIA
CERTIFIED MAIL:


Sheriff Jonathan Benison
400 Morrow Ave.
Eutaw, AL 35462




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